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                IN THE UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

BERKELEY VENTURES II, LLC

             Plaintiff,
                                                Civil Action File No.
v.                                              1:19-cv-05523-SDG

SIONIC MOBILE CORPORATION and
RONALD D. HERMAN,

             Defendants.


        REPLY IN SUPPORT OF DEFENDANT SIONIC MOBILE
         CORPORATION’S SECOND MOTION TO STRIKE AND
       DISREGARD PLAINTIFF BERKELEY VENTURES II, LLC’S
     REPLY MEMORANDUM IN SUPPORT OF ITS MOTION TO ADD
     PATRICK GAHAN, AND TO RESOLVE CERTAIN PROCEDURAL
           COMPLEXITIES INTRODUCED BY PLAINTIFF

       Only now, in arguing against Sionic’s second Motion to Strike [Doc.

163] (the “Second Motion to Strike”), has Plaintiff Berkeley Ventures II, LLC

(“Berkeley”) professed its concern for this Court’s limited resources. It is

unfortunate that Berkeley did not do so previously when it forced Sionic to

file not one but two Motions to Strike. If Berkeley was truly concerned about

judicial resources, it would have reasonably and in good faith adhered to the

Federal Rules of Civil Procedure (each a “Rule”), the Local Rules, the Court’s

Standing Order [Doc. 45], and the other rules governing this litigation,



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including that of candor. Berkeley has had multiple opportunities to abide by

the rules. It simply has not done so.

      For example, and most recently, Berkeley had the chance to abide by

the rules when it sought to join Patrick Gahan (“Gahan”) as a defendant to

this action. Berkeley could have taken the time and effort, in compliance with

Rule 7(b), to ensure its Motion to Add Gahan [Doc. 136] (the “Initial Motion”)

stated with particularity its grounds for its requested relief, including

reasonable rule citation and application and incorporation of necessary

supporting facts, documents and evidence. Berkeley’s Reply Memorandum in

Support of its Initial Motion [Doc. 145] (the “Reply Memo”) could have

followed the rule prohibiting a party from introducing previously available

arguments and evidence for the first time on reply. Berkeley could have been

candid with the Court that the 88 pages of purported evidence it sought to

introduce for the first time on reply came not at the eleventh hour from

Sionic, as Berkeley had claimed, but from nonparty Enduring Hearts, Inc.

(“Enduring Hearts”) at least two months before the date of Berkeley’s Initial

Motion. Berkeley could have honestly disclosed to the Court that its

purported “Exhibit V” was not a part of its Reply Memo, and forthrightly

moved for leave to supplement its submission.




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      Berkeley could have done these and many other things. But it did not.

Instead, Berkeley has continued to spin dubious excuses for its conduct.

      Sionic takes no pleasure in the extensive motions practice it has been

forced to undertake in this matter. Unfortunately, Berkeley’s repeated rule

violations and refusal to do the right thing, even after being asked to do so,

have left Sionic with little choice but to seek the Court’s intervention.

Respectfully, it is appropriate that the Court grant Sionic’s Second Motion to

Strike, and First Motion, which address the same troubling conduct by

Berkeley on the very same subject matter.

             ARGUMENT AND CITATION OF AUTHORITY

      Sionic finds itself on difficult ground, encountering a Plaintiff that

readily engages in rule violations, many of which it has attempted to exploit

for its own momentary gain. Such is the case with Berkeley’s attempted

insinuation of its latest purported “Exhibit V” into the record, long after the

end of briefing on Berkeley’s Initial Motion, by exploiting the Court’s July 27,

2021 Order that gave Berkeley the chance to correct its initial failure to

follow the rules governing submissions under seal. For this and the reasons

below, Sionic requests the Court grant its Second Motion to Strike:




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    I.      Berkeley’s red herrings do nothing to refute the reality that
            its Reply Memo clearly did not incorporate or cite its
            purported “Exhibit V” at any point.

         Berkeley proffers multiple red herrings in its Response in Opposition to

Sionic’s Second Motion to Strike [Doc. 166] (the “Opposition Brief”) in a bid to

distract from its own conduct. The question, however, presented in Sionic’s

Second Motion to Strike is a simple one: Did Berkeley include its purported

“Exhibit V” with its Reply Memo? The answer is equally simple: No.

         Berkeley’s Reply Memo neatly resolves the matter. The Reply Memo

expressly stated that Berkeley was attaching exhibits “A to U,” as repeated

and confirmed throughout the Reply Memo’s footnotes.1 Entirely consistent,

Berkeley’s July 16, 2021 email correspondence to Sionic attached exhibits

designated A through U, which Berkeley confirmed to be all exhibits.2 And in

case there was any doubt, Berkeley’s later refiled Reply Memo, in both

redacted and unredacted form, exclusively referenced “A to U,” no differently

than its initial Reply Memo, with even the same referencing footnotes.3



1 Berkeley’s Reply Memo [Doc. 145] at 10, n.10, 11 n.11-12, 12 n.13-16, 13
n.17-19, 14 n.20-21.
2 Brief in Support of Sionic’s First Motion to Strike [Doc. 153-1] at 4, Ex. A

[Doc. 153-2].
3 Berkeley’s Unredacted Reply Memo [Doc. 155] at 10, n.10, 11 n.11-12, 12

n.13-16, 13 n.17-19, 14 n.20-21; Berkeley’s Redacted Reply Memo [Doc. 156]
at 10, n.10, 11 n.11-12, 12 n.13-16, 13 n.17-19, 14 n.20-21.

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          Berkeley denies none of these facts. Instead, Berkeley spins a confusing

web of shifting dates and excuses that ultimately level blame at the Court

and Sionic for Berkeley’s alleged failure to include and file its purported

“Exhibit V” with its Reply Memo.4 Sionic could pick each of these excuses

apart. But Berkeley’s Reply Memo makes the truth plain. Berkeley never

included its purported “Exhibit V” in its Reply Memo. It never cited it. It

never incorporated it, even by reference. Berkeley’s naked efforts to sneak its

purported “Exhibit V” into the record, at this time, without leave or

reasonable explanation is improper. Respectfully, the Court should not

reward Berkeley for its lack of candor and failure to follow the rules, and

grant Sionic’s Second Motion to Strike.

    II.      Berkeley has admitted facts establishing that it was
             obligated to include its purported “Exhibit V” as part of its
             Initial Motion—not for the first time on reply and certainly
             not after the close of the briefing cycle on its Initial Motion.

          Berkeley describes its purported “Exhibit V” as “important” to its

ability to satisfy Rule 16(b)’s requirements in seeking Gahan’s joinder outside

the deadline specified Court’s Scheduling Order.5 Berkeley further alleges

that its purported “Exhibit V” shows “not only that Mr. Gahan, but also


4See, e.g., Berkeley’s Opposition [Doc. 166] at 3-4.
5Berkeley Opposition [Doc. 166] at 4; Scheduling Order [Doc. 69], entering
Joint Report [Doc. 68] at 9.

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Defendant Herman were engaged in a scheme to defraud Plaintiff while at

the same time, both of them were enticing Plaintiff to invest.”6

        Berkeley’s purported “Exhibit V” shows no such thing, and Berkeley

makes no showing as to how it does. Berkeley also offers no credible

justification for the introduction of its purported “Exhibit V” after the filing of

its Reply Memo. Nor does Berkeley explain why its claims and arguments

made in regard to its purported “Exhibit V” occur not in its Initial Motion,

where they ought to have been made, but instead for the first time in

Berkeley’s opposition to Sionic’s Second Motion to Strike.

        Berkeley was obligated under Rule 7(b) to include both its purported

“Exhibit V” and its associated claims and arguments in its principal motion

and brief. Diversified Sols., Inc. v. Ohwook! Prods., No. 21-10039- CIV-

MARTINEZ, 2021 U.S. Dist. LEXIS 78233 at *2-*3 (S.D.Fla. Apr. 23, 2021.

This Berkeley did not do, instead leaving its purported “Exhibit V” and

associated claims and arguments until well after all briefing was concluded

on its Initial Motion. In circumstances such as this, a motion to strike is

appropriate. Long-Hall v. United States Ready Mix, No. 1:08-CV-1546-CAP-

AJB, 2010 U.S. Dist. LEXIS 149796 at *6-*7 (N.D.Ga. Feb. 2, 2010), adopted



6   Berkeley Opposition [Doc. 166] at 4.

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2010 U.S. Dist. LEXIS 149791 at *1 (N.D.Ga. Mar. 3, 2010). Respectfully, the

Court should grant Sionic’s Second Motion to Strike.

     III.     Rather than trying to spin yarns justifying its effort to
              backdoor “Exhibit V” into the record, Berkeley should have
              followed the rules and moved for leave to supplement its
              Reply Memo—something even Berkeley acknowledged it was
              obligated to do.

        If Berkeley wanted the Court to consider its purported “Exhibit V,” the

correct course of action was identified in the August 3, 2021 email from

Berkeley’s counsel: “I can file a request for leave to file Exhibit V . . ..”7 This

is exactly what Berkeley ought to have done, satisfying the rules and

requirements governing such motions. See, Benton v. Cousins Props., 230 F.

Supp. 2d 1351, 1366 (N.D.Ga. 2002) (granting plaintiff’s motion for leave not

only because it was unopposed, but also because plaintiff had been prompt,

shown good cause, and demonstrated no undue prejudice to defendant in

seeking to supplement).

        Even though acknowledging the necessity of seeking leave, Berkeley

never moved for it, presumably because such a motion would have been

disfavored and subject to denial. Johnson v. Douglas Cty. Sch. Dist., No. 1:09-

CV-01023-BBM-RGV, 2009 U.S. Dist. LEXIS 136677 at *3 n.1 (N.D.Ga. Nov.



7   Ex. D to Sionic’s Brief to its Second Motion to Strike [Doc. 162-5].

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12, 2009), adopted 2009 U.S. Dist. LEXIS 136675 (N.D.Ga. Dec. 8, 2009)

(denying plaintiff’s motion to supplement because it was opposed, “was filed

after the time for responding to defendants’ motion had expired,” and “offered

no explanation for the delay or for failing to include the supplemental

arguments” in the original brief).

      Berkeley had its purported “Exhibit V” in its possession not only before

its Reply Memo, but two months before its Initial Motion as part of Enduring

Hearts’ production—a fact Berkeley nowhere disputes even when given the

chance to do so.8 Berkeley was thus obligated to include purported “Exhibit

V” with its Initial Motion, which it failed to do, meaning at a minimum it

should be disregarded, if not struck entirely. Diversified Sols., 2021 U.S. Dist.

LEXIS 78233 at *2-*3.

      Instead, Berkeley resorts to a mishmash of dates, half-truths, and

unsupported allegations to justify its violation of the rules. They include

Berkeley’s implausible claim that it omitted its purported “Exhibit V” by

mere oversight, which for the reasons explained in part I above cannot be

true. They also include Berkeley’s unsupported allegation that Sionic had


8Sionic’s Brief in Partial Opposition to Berkeley’s Motion for Leave to File
Documents Under Seal [Doc. 163] at 3 (“purported ‘Exhibit V’ constitute[s]
the production of Enduring Hearts”). Berkeley nowhere disputes Sionic’s
showing, the time for so doing having passed.

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purported “Exhibit V” in its possession at least “1 month” before Berkeley’s

efforts to join Gahan, and that the parties had “discussed” it shortly before

Berkeley tried to backdoor “Exhibit V” into the record.9 Of course, entirely

absent from Berkeley’s argument is any explanation as to what it may have

discussed with Sionic, which remains a mystery, even to Sionic. Nor does

Berkeley explain why Sionic possibly having possession of the documents

included as part of Berkeley’s purported “Exhibit V”—amongst the many

thousands of pages of production made by multiple parties to date—is

somehow a “get out of jail free card” for Berkeley’s complete failure to follow

the rules.

        The truth, however, is a lot simpler than Berkeley suggests. Berkeley

never included, and never intended to include, its purported “Exhibit V” with

its Reply Memo. Instead, for reasons Berkeley has chosen to share with

neither the Court nor Sionic, Berkeley tried to backdoor its purported

“Exhibit V” into the record long after the time for its introduction had come

and gone. This is not how litigation is supposed to work. Respectfully, the

Court should grant Sionic’s Second Motion to Strike.




9   Berkeley Opposition [Doc. 166] at 4.

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                               CONCLUSION

      Berkeley has provided no credible reason for the introduction of its

purported “Exhibit V” long after its Initial Motion and Reply Memo. Nor has

Berkeley explained its failure to properly move for leave to supplement its

Initial Motion or Reply Motion by adding its purported “Exhibit V” and

associated claims and arguments at this time. Instead, Berkeley has offered

little more than mishmash of unsubstantiated excuses that even if true,

provide no justification for its conduct. In so doing, Berkeley has both

burdened judicial resources and forced Sionic to incur costs and fees. Sionic

respectfully requests the Court grant its Second Motion to Strike.

      Respectfully submitted this September 2, 2021.

                                     /s/ Simon Jenner
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              CERTIFICATE OF COMPLIANCE AND SERVICE

      I certify that the foregoing has been prepared in accordance with Local

Rule 5.1(C), using Century Schoolbook, 13-point font. I further certify I have

electronically filed on the date stated below, the foregoing REPLY IN

SUPPORT OF DEFENDANT SIONIC MOBILE CORPORATION’S

SECOND MOTION TO STRIKE AND DISREGARD PLAINTIFF

BERKELEY VENTURES II, LLC’S REPLY MEMORANDUM IN

SUPPORT OF ITS MOTION TO ADD PATRICK GAHAN, AND TO

RESOLVE CERTAIN PROCEDURAL COMPLEXITIES INTRODUCED

BY PLAINTIFF with the Clerk of Court using the CM/ECF system which

will automatically send email notification of such filing to attorneys of record,

as follows:

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This September 2, 2021.

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